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OF TEXAS



NO. WR-76,766-01




EX PARTE MARCO ANTONIO MUNIZ, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 2004CR6299-W1
IN THE 227TH DISTRICT COURT FROM BEXAR COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of possession with
intent to deliver 4 to 200 grams of cocaine. There was no direct appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant alleges that his no contest plea was involuntary, citing to Padilla v. Kentucky, 559
U.S. 356 (2010). Because the holding in Padilla is not retroactive, Applicant’s writ application is
denied. See Chaidez v. United States, 132 S.Ct. 2101 (2012); Ex parte De Los Reyes, 392 S.W.3d
675 (Tex. Crim. App. 2013).
Filed: June 5, 2013
Do not publish


